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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                      Miami Division


    PRESIDENT DONALD J. TRUMP,                                         Case No.: 23-cv-21377-DPG

                           Plaintiff,

            v.

    MICHAEL D. COHEN,

                           Defendant.


                 NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

         Plaintiff, President Donald J. Trump, by and through undersigned counsel, hereby gives

  notice that pursuant to Rule 41(1)(A)(i) he is voluntarily dismissing this action without prejudice.

  Date: October 5, 2023                         Respectfully submitted,
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                                                By: /s/ Alejandro Brito______
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                                CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on October 5, 2023 the foregoing was served via the

  Court’s CM/ECF System upon:

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  Counsel for Defendant

                                         By: /s/ Alejandro Brito




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